        Case 6:17-cv-00066-DLC Document 11 Filed 03/02/18 Page 1 of 2

                                                                              FILED
                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA                            MAR 02 2018
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                            HELENA DIVISION                                 D1~trict 6,SM Courts
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  ISAIAH MORSETTE,
                                                         CV 17-66-H-DLC-JTJ
                       Plaintiff,

     vs.                                                  ORDER

  D.O.C. DIRECTOR, WARDEN
  FLETCHER, and AMIE DANIELS,

                       Defendants.

      United States Magistrate Judge John T. Johnston entered his Findings and

Recommendations in this case on January 17, 2018, recommending that this action

be dismissed for failure to state a claim.     Plaintiff Isaiah Morsette ("Morsette")

failed to timely object to the findings and recommendations, and so waived the

right to de novo review of the record.       28 U.S.C. § 636(b)(l).   The Court will

therefore review the record for clear error.       McDonnell Douglas Corp. v.

Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981).

      After reviewing the record and finding no clear error, this Court agrees with

Judge Johnston that the Complaint, as currently pled, fails to state a federal claim

upon which relief may be granted.     Morsette was given an opportunity to file an

amended complaint, but did not do so.

                                             -1-
        Case 6:17-cv-00066-DLC Document 11 Filed 03/02/18 Page 2 of 2



      Accordingly, IT IS ORDERED that Judge Johnston's Findings and

Recommendations (Doc. 10) are ADOPTED IN FULL.

      (1)    This matter is DISMISSED WITH PREJUDICE for failure to state a

federal claim.

      (2)    The Clerk of Court is directed to close this matter and enter judgment

pursuant to Rule 58 of the Federal Rules of Civil Procedure.

      (3)    The Clerk of Court is directed to have the docket reflect that the Court

certifies pursuant to Rule 24(a)(3)(A) of the Federal Rules of Appellate Procedure

that any appeal of this decision would not be taken in good faith.   No reasonable

person could suppose an appeal would have merit.      The record makes plain the

instant Complaint lacks arguable substance in law or fact.

      (4)    The Clerk of Court is directed to have the docket reflect that this

dismissal counts as a strike pursuant to 28 U.S.C. § 1915(g) because Mr. Morsette

failed to state a claim upon which relief may be granted.

      DATED this    '2..J day of March, 2018.


                                               Dana L. Christensen, Chief Judge
                                               United States District Court



                                         -2-
